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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

 LUCAS WALL,

             Plaintiff,

 vs.                                            CASE NO.: 6:21-CV-00975-PGB-DCI

 CENTERS FOR DISEASE CONTROL
 AND PREVENTION; DEPARTMENT OF
 HEALTH AND HUMAN SERVICES;
 TRANSPORTATION SECURITY
 ADMINISTRATION; DEPARTMENT OF
 HOMELAND SECURITY; DEPARTMENT
 OF TRANSPORTATION; JOSEPH BIDEN,
 in his official capacity as President of the
 United States of America; GREATER
 ORLANDO AVIATION AUTHORITY; and
 CENTRAL FLORIDA REGIONAL
 TRANSPORTATION AUTHORITY,

             Defendants.
                                            /

            JOINT NOTICE OF COMPLIANCE WITH COURT
           ORDER [DOC. 30] REGARDING DETERMINATION
       OF EXEMPTION TO FILING CASE MANAGEMENT REPORT

       Plaintiff, Lucas Wall, and Defendants, Centers for Disease Control and

 Prevention, Department of Health and Human Services, Transportation Security

 Administration,    Department     of    Homeland      Security,   Department    of

 Transportation, Joseph Biden, in his official capacity as President of the United

 States Of America, Greater Orlando Aviation Authority, and Central Florida

 Regional Transportation Authority, hereby certify that, in compliance with this

 Court’s directions in the Order dated June 17, 2021 (Doc. 30), they have consulted
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 Local Rule 3.02 and conferred with each other, and have determined that this

 action falls under the exception in Local Rule 3.02(d)(2): an action for review on

 an administrative record that is not under the Employee Retirement Income

 Security Act of 1974.   Accordingly, pursuant to Local Rule 3.02(a), no case

 management conference or case management report is required of the parties at

 this time.

                                             Respectfully submitted,

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     Homeland Security, Department
     of Transportation and Joseph
     Biden, in his official capacity as
     President of the United States




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                           CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 19, 2021, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system, which will send

 a notice of electronic filing to any attorneys of record and to Plaintiff, Lucas Wall.

                                        /s/ Sally R. Culley
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